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                        BEFORE THE UNITED STATES
               JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


IN RE: FTX Cryptocurrency Exchange                            MDL Docket 3076
Collapse Litigation


                                   PROOF OF SERVICE

        In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on July 21, 2023, copies of

the Notice of Potential Tag Along Actions were filed electronically through the CM/ECF system,

and copies of same were sent by USPS and/or Email to all parties on the attached service list.



 United States District Court for the Southern District of Maryland
 6500 Cherrywood Lane
 Greenbelt, MD 20770

                                      Garrison et al v Jung
                           Case No.: 8:23-cv-01969, Judge Paula Xinis
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Dated: July 21, 2023                  Respectfully submitted,

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